
413 So.2d 907 (1982)
Randy W. SMITH, Individually and as Natural Tutor of the Minor Children, Angela Smith and Randall D. Smith, Janice G. Smith and Eddie L. Smith, Individually and As Natural Tutor of the Minor Children, Kevin L. Smith and Lorie Ann Smith
v.
STATE of Louisiana, Through DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT and Irris F. D. Austin.
No. 82-C-0781.
Supreme Court of Louisiana.
April 30, 1982.
Denied.
MARCUS, BLANCHE and LEMMON, JJ., would grant the writ.
